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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                         MAGISTRATE JUDGE MICHAEL E. HEGARTY

   Civil Action No. 09-cv-00724-DME-MEH                                Date: January 30, 2012
   Courtroom Deputy: Cathy Coomes                                      FTR – Courtroom A501

   AMERICAN FAMILY MUTUAL INSURANCE COMPANY, INC.                              Shauna Hilgers
                                                                               Kathleen Chaney
          Plaintiff,

   vs.

   DENVER HASLAM,                                                              Michael Connolly
   COMMERCIAL CAPITAL, INC.,
   MIKEL MEWBOURN,
   M & B DEVELOPMENT GROUP, INC.,
   FALL RIVER VILLAGE COMMUNITIES, LLC,                                        Jose Ramirez
   ONEWEST BANK, FSB, and                                                      Michael Carrigan
   DEUTSCHE BANK NATIONAL TRUST COPMANY,

          Defendants.

   JAMES T. MARKUS,                                                            Steven Rider
                                                                               John Young
          Interested Party.                                                    Jennifer Salisbury


                              COURTROOM MINUTES/MINUTE ORDER

   FINAL PRETRIAL CONFERENCE

   Court in session:     9:38 a.m.

   Court calls case. Appearances of counsel. James T. Markus is present.

   Discussion regarding the status of the case, what issues remain to be tried, pending dispositive
   motions, the Joint Motion for Voluntary Dismissal With Prejudice as to Claims Between
   American Family and Denver Haslam (Doc. #412, filed 1/27/12), and motions that counsel intend
   to file.

   ORDERED: 1.           Any motions that the parties believe are necessary arising out of the
                         resolution between Plaintiff and Defendant Haslam shall be filed by
                         February 3, 2012.

                  2.     By February 6, 2012, Counsel shall submit a separate “Statement of
                         Outstanding Issues and Claims by _____ ,” stating what issues remain to be
                         tried, as well as if any discovery is necessary based on Plaintiff’s and
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                       Defendant Haslam’s agreement.

                3.     By close of business on January 31, 2012, a copy of the agreement
                       between Plaintiff and Defendant Haslam shall be produced to counsel for
                       all other defendants and interested parties, subject to attorneys’ eyes only
                       and under seal.

                4.     The Final Pretrial Order is not approved and will not be entered. The Final
                       Pretrial Conference is continued to February 21, 2012, at 3:00 p.m. Also
                       at that time, the Court will hear argument on any motions that have
                       been referred. Counsel shall also be prepared to discuss the status of the
                       case at that time.

   Court in recess:     10:07 a.m. (Hearing concluded)
   Total time in court: 0:29
